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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                   :
UNITED STATES OF AMERICA           :
                                   :
                - v. -             :                         DECLARATION
                                   :
ANILESH AHUJA,                     :                         S1 18 Cr. 328 (KPF)
  a/k/a “Neil,” and                :
JEREMY SHOR,                       :
                                   :
                       Defendants. :
                                   :
-------------------------------x

               JOSHUA A. NAFTALIS hereby declares under penalty of perjury:

               1.      I am an Assistant United States Attorney (“AUSA”) in the United States

Attorney’s Office for the Southern District of New York (the “Office” or “Government”). I am

one of the AUSAs assigned to the above-captioned case. As such, I have personal knowledge of

the facts and circumstances set forth herein. I submit this declaration in response to the Court’s

January 13, 2021 Order, as modified. (Dkt. 424; Dkt. 426). I have not discussed this declaration

with my trial partners, AUSAs Andrea Griswold and Max Nicholas.

               2.      The statements below are based on my recollection of the relevant events;

my recollection, as refreshed by documents I have reviewed since those events occurred; the

routine practices I have developed, based on training and experience; and, in some instances,

documents that I have no doubt are accurate, but nonetheless have not refreshed my recollection.

Where I believe it relevant to the Court’s inquiry, I specify the source(s) of my knowledge, but for

ease of reading I generally do not do so. For the same reason, I generally do not use the typical

conventions and qualifications “on or about” or “approximately” when referring to times and dates,

“in substance and in part” when referring to statements made in oral or written communications,



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and similar ones.    To my mind, there are no factual or legal issues here that make such

qualifications relevant. And more importantly, I am deeply grateful for the opportunity to address

the Court’s concerns about my conduct and the conduct of my colleagues, and I have attempted to

do so in as accessible and transparent a fashion as possible.

I.     The Nature and Scope of My Involvement in
       Plea Discussions with Mr. Majidi and His Counsel

               3.      The Government’s plea discussions with Amin Majidi’s counsel, Seth

Rosenberg and Brian Linder, Esqs., began on May 15, 2018, when AUSA Griswold and I had a

telephone conversation with them. During that call, we discussed whether Mr. Majidi would be

interested in exploring cooperation with the Government.

               4.      AUSAs Griswold and I had communications with Messrs. Rosenberg and

Linder over approximately the next month, as Mr. Majidi considered whether he was interested in

cooperating. For example, on May 22, 2018, I had a telephone conversation with Mr. Rosenberg

on that subject. On May 29, 2018, I sent an email to Messrs. Rosenberg and Linder, copying

AUSA Griswold, asking “where things stood on your end.” On June 4, 2018, AUSA Griswold

and I had a telephone call with Messrs. Rosenberg and Linder, during which an in-person meeting

was scheduled for June 11, 2018. That meeting was subsequently rescheduled to June 14, 2018.

On June 14, 2018, AUSA Griswold and I had an in-person meeting with Messrs. Rosenberg and

Linder, during which we scheduled Mr. Majidi’s first proffer for four days later, on June 18, 2018.

               5.      On June 18, 2018, I emailed a draft proffer agreement for Mr. Majidi to

Messrs. Rosenberg and Linder, copying AUSA Griswold. (CR0032-34).1 The first proffer of Mr.


1
       Documents with Bates stamp “CR” refer to documents that Mr. Majidi produced to the
defendants, and that the Government also produced to the defendants on June 6, 2019. Documents




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Majidi took place that afternoon. AUSA Griswold and I, two Federal Bureau of Investigation

(“FBI”) Special Agents, two Securities and Exchange Commission (“SEC”) attorneys, and Messrs.

Rosenberg and Linder attended. The FBI 302 for the meeting reflects that Mr. Majidi specifically

told the Government:

               The mismarking of securities at PPI occurred from 2014 to 2016.
               MAJIDI was involved in the mismarking of securities. AHUJA,
               SHOR, and ASHISH DOLE (DOLE) were also involved in the
               mismarking of securities. . . . Securities were mismarked in the
               NEW ISSUE FUND (NEW ISSUE) and the hedge fund. The same
               strategy applied in the hedge fund and ERISA, so both were inflated.

(Ex. A hereto (3520-05, at 7) (emphasis added)).

               6.      The Government had four more proffer sessions with Mr. Majidi, on July

10, 2018, July 13, 2018, July 18, 2018, and August 1, 2018. (3520-08; 3520-11; 3520-13; 3520-

15). I attended all of these proffers, AUSA Griswold attended all but one, and FBI Special Agents,

SEC attorneys, and Messrs. Rosenberg and Linder attended all of them.

               7.      Based on my review of documents and my practice, I believe that on August

1, 2018 or shortly thereafter, I informed Messrs. Linder and/or Rosenberg that it was likely that

AUSA Griswold and I would recommend that the Government offer a cooperation agreement to

Mr. Majidi. I do not recall whether this conversation was in person or by telephone, or whether

AUSA Griswold joined.




with Bates stamp “3520” refer to Section 3500 material for Mr. Majidi that the Government
produced to the defendants. Documents with Bates stamp “USAO_SDNY” refer to documents
that the Government produced to the defendants and the Court on June 19, 2020 or June 24, 2020.
Documents with Bates stamp “SDNY_PPI” refer to documents that the Government produced to
the defendants and the Court on September 24, 2020 in connection with AUSA Karl Metzner’s
review. “Tr.” refers to the trial transcript. I have included the relevant documents as exhibits. I
am, of course, happy to provide any documents that would aid the Court’s review.



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               8.      In an email sent on August 30, 2018, Mr. Rosenberg informed AUSA

Griswold and me, copying Mr. Linder, that he “[w]ould like to formalize Amin[’]s situation before

I leave for London the 18 and Josh’s paternity.” I replied, “That’s the goal.” (CR0042).

               9.      I was generally out of the office between September 6, 2018 and October 8,

2018, because I had surgery on my wrist and because I was on paternity leave.

               10.     On October 9, 2018, the day I returned to work, Mr. Rosenberg sent AUSA

Griswold an email that read: “I assume that Josh is [ ] by now a proud and exhausted parent. I

was wondering whether there might be a way to make progress toward formalizing Amin’s

situation.” AUSA Griswold responded, adding me to the email chain, and wrote: “Thanks for the

email. In fact, Josh is back today and we are progressing on this. We’ll be in touch later this week

with an update.” (CR0131).

               11.     On October 19, 2018, I emailed Messrs. Rosenberg and Linder, copying

AUSAs Griswold and Max Nicholas (who had recently joined the trial team), an approved

cooperation agreement for Mr. Majidi. (CR0046-51). On October 22, 2018, Mr. Rosenberg

replied: “We’ll be back to you Thursday,” i.e., on October 25, 2018. (CR0138).

               12.     My phone records reflect that I called Messrs. Rosenberg and/or Linder on

October 26, 2018 at 11:17 a.m. for approximately two minutes, and that Messrs. Rosenberg and/or

Linder then called me at 11:44 a.m. for approximately two minutes. (Ex. B (SDNY_PPI_00294)).

While I do not recall the phone calls, I believe, based on my review of documents, that we

discussed that Mr. Majidi would be accepting the cooperation agreement and the scheduling of his

guilty plea.

               13.     Immediately after I spoke to Messrs. Rosenberg and/or Linder on October

26, 2018, I called Chambers to schedule Mr. Majidi’s guilty plea, which the Court set for October



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31, 2018 at 4:00 p.m. I then sent an Outlook calendar invite to AUSAs Griswold and Nicholas, as

well as two FBI Special Agents, reflecting that the Court had scheduled Mr. Majidi’s guilty plea

for October 31, 2018 at 4:00 p.m. (USAO_SDNY_026399).

               14.     At the same time, i.e., at 11:50 a.m. on October 26, 2018, I called Mr.

Rosenberg for 11 seconds. (Ex. B). I do not believe that we spoke. A minute later, I sent an email

to Mr. Rosenberg, in which I wrote, “Just tried you back. We are on for Wednesday, October 31

at 4pm before Judge Failla.” (CR139). An hour later, Mr. Rosenberg sent me an email, copying

Mr. Linder, with the subject “Majidi Cooperation Agreement,” that read, “Attached[.] See you at

4PM on Wednesday. Talk on Monday.” A signed copy of Mr. Majidi’s cooperation agreement

was attached to that email. (CR140-45).

II.    My Communications Regarding the Substance of Mr. Majidi’s Allocution2

               15.     It is proper, common, and appropriate for counsel to a defendant, including

a cooperating witness, to seek comment from the Government on a proposed allocution, and for

the Government to provide comments on a proposed allocution to counsel that are consistent with

the defendant’s proffer statements. Moreover, it is a regular and customary practice in this District

for such communications to take place. (See July 16, 2020 Gov’t Ltr. 6 (Dkt. 390) (“There is

nothing wrong with a prosecutor conferring with counsel for a defendant, including a cooperating

witness, about a plea allocution, or proposing language for counsel’s consideration, and indeed

this practice is common.”)).




2
       Paragraphs 16 through 23 reflect my current knowledge of these communications, based
on my review of documents, and do not reflect my recollection of those communications on June
10, 2019.



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              16.     On October 29, 2018, at 4:14 p.m., Mr. Rosenberg sent me an email,

copying Mr. Linder (the “October 29 Email”), with the subject “Majidi Allocution,” that read,

“Proposed allocution attached,” and attached a three-page Word document of a proposed

allocution for Mr. Majidi (the “Draft Allocution”). (Ex. C hereto (CR0058-61)).

              17.     Four minutes later, I forwarded the October 29 Email and the attached Draft

Allocution to AUSAs Griswold and Nicholas for their review.                     (Ex. D hereto

(USAO_SDNY_026401-04)). At 5:32 p.m. that day, AUSA Nicholas responded, “Any chance

you guys are free to meet about this and some other stuff tomorrow? I’m free all day after 12:30

p.m. — whatever is easiest for you guys.” At 6:08 p.m., AUSA Griswold responded, “Yes —

wide open.” At 9:53 p.m., I responded, “I’m at the doctor in the morning for my wrist. How about

sometime after 245?” A minute later, AUSA Nicholas responded, “Let’s say 3?” (Ex. E hereto

(USAO_SDNY_026408-09)).

              18.     Also at 9:54 p.m. that night, I again forwarded the October 29 Email and

attached Draft Allocution to AUSAs Griswold and Nicholas and wrote, “This is way too detailed

in my view. Should we discuss at our team meeting?” Two minutes later, AUSA Nicholas

responded, “I completely agree. Should be bare bones just hit the elements. Agree let’s discuss

at mtg.” (Ex. F hereto (USAO_SDNY_026414)). Two minutes later, I sent an Outlook calendar

invite to AUSAs Griswold and Nicholas proposing a “PPI Team Meeting” for the next day,

October 30, 2018 at 3:00 p.m., which they accepted. (USAO_SDNY_026415-17).

              19.     At 11:58 a.m. the next morning, I sent an email to AUSAs Griswold and

Nicholas with the subject line “Allocution – Draft edits” that attached a Word document with




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proposed comments to the Draft Allocution reflected in track changes.3              (Ex. G hereto

(USAO_SDNY_026366-69) (the “Proposed Comments”)). The Proposed Comments fairly and

accurately reflected what Mr. Majidi told the Government during his proffer sessions, including at

his first proffer, see supra ¶ 5. (See also June 19, 2020 Gov’t Ltr. 1 (Dkt. 368); July 16, 2020

Gov’t Ltr. 5-8 (Dkt. 390)).

               20.     I do not recall whether I met in person with AUSAs Griswold and Nicholas

as scheduled at 3:00 p.m. on October 30, 2018. Whether we met in person or spoke by phone, I

do not recall either of them raising any concerns about the accuracy of the Proposed Comments or

the propriety of suggesting them to Mr. Majidi’s counsel.

               21.     That same day, at 4:03 p.m., I replied to the October 29 Email and wrote to

Messrs. Rosenberg and Linder, “Can you talk around 430pm?” (Ex. H hereto (CR0062) (the “4:03

p.m. Email”)). My phone records reflect that I spoke by telephone with Mr. Rosenberg later that

day beginning at 4:42 p.m. for approximately ten minutes. (Ex. B). I do not recall the specifics

of what was discussed on that call. Based on my review of documents and the length of the call,

I believe that I suggested, in substance and in part, that the Draft Allocution was too detailed and

that it should just hit the elements of the offenses to which Mr. Majidi would be pleading guilty,

and that I also suggested the Proposed Comments to Mr. Rosenberg for him and Mr. Linder to

consider and discuss with Mr. Majidi. I did not in any way pressure Messrs. Rosenberg and Linder

(or, through them, Mr. Majidi) to accept the Government’s suggestions.




3
       Based on my review of these documents and my practice, I believe that I opened the Draft
Allocution, made edits in track changes, and sent the Proposed Comments by email to AUSAs
Nicholas and Griswold for their review, without saving a copy to my computer.


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               22.     As noted above, Mr. Majidi’s guilty plea was scheduled for 4:00 p.m. the

next day, October 31, 2018. Approximately one and one-half hours before the plea, I sent an email

to Mr. Rosenberg that said, “Let’s meet in hallway by Judge Failla’s courtroom 10 mins early?”

At 2:45 p.m., Mr. Rosenberg responded, “sure.” (Ex. I hereto (USAO_SDNY_026423)). Based

on my training, experience, and practice, I believe that I suggested the meeting so that Mr. Majidi’s

counsel could have him sign the cooperation agreement on the date of the guilty plea, which is the

customary practice in this District. Based on my review of documents, I believe that I met in

person with Messrs. Rosenberg and/or Linder shortly before Mr. Majidi’s guilty plea in or outside

the courtroom. I do not specifically recall the conversation, or whether AUSA Nicholas, who

appeared with me for the Government at the guilty plea, was present. Based on my review of

documents, I believe that we discussed, in substance and in part, having Mr. Majidi, as well as

Messrs. Rosenberg and/or Linder, sign the cooperation agreement, which they did before the plea

proceeding began (Ex. J hereto (3520-16) (reflecting that Mr. Majidi and his counsel signed the

cooperation agreement on Oct. 31, 2018)), and the allocution.

               23.     The Court took Mr. Majidi’s guilty plea shortly thereafter. (Ex. K hereto

(“Plea Tr.”)). During Mr. Majidi’s allocution, I briefly consulted with Mr. Rosenberg. Based on

my review of the plea transcript, I believe that we discussed Mr. Majidi’s answer to one of the

Court’s questions — whether Mr. Majidi knew what he was doing was “illegal” — and Mr. Majidi

subsequently rephrased his answer. (Id. 32-33).4




4
        After the plea, I exchanged emails with Mr. Majidi’s lawyers about their proposed
redactions to the publicly filed transcript of Mr. Majidi’s personal information, which the Court
subsequently so-Ordered. (Plea Tr. 38-39; Nov. 13, 2018 Court endorsement).



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               24.    Mr. Majidi’s final allocution to the Court (the “Final Allocution”) fairly and

accurately reflects what he had told the Government in his proffer statements, including his first

proffer with the Government, see supra ¶ 5.

               25.    My communications with Mr. Majidi’s counsel were proper, appropriate,

and consistent with practice in this District (and others). (See June 19, 2020 Gov’t Ltr. 1 (Dkt.

368) (“the Government’s communication with Majidi’s counsel were entirely appropriate”); July

16, 2020 Gov’t Ltr. 5-8 (Dkt. 390) (“the implication in Ahuja’s July 6 Letter there was anything

at all improper about the Government’s input with respect to Majidi’s allocution is false”)).5

III.   The Government’s Document Collection
       Before Its June 8, 2019 Letter to the Court

               26.    Pursuant to the Court’s June 6, 2019 mid-trial instruction (Tr. 479), I

searched my files for communications and documents relating to the allocutions of the cooperating

witnesses in this case, specifically, Messrs. Majidi, Frank Dinucci, and Ashish Dole. Consistent

with my understanding of the Court’s instruction, I searched my (a) electronic files, (b) hard copy

files, and (c) archived emails sent to and received from counsel for each of the cooperating

witnesses. I conducted this search between June 6, 2019 and June 8, 2019. As the Government

advised the Court in its June 19, 2020 letter, neither I nor my colleagues searched our internal

emails. (See June 19, 2020 Gov’t Ltr. 1-2 (Dkt. 368)).

               27.    During my search, I located two emails relating to Mr. Majidi’s allocution:

the October 29 Email from Mr. Majidi’s lawyers with the attached Draft Allocution (which I had




5
        In early 2019, AUSAs Griswold, Nicholas, and I divided up responsibility for potential
trial witnesses. AUSA Nicholas took over responsibility for preparing and presenting Mr. Majidi
as a witness at trial.



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previously identified, and the Government had previously produced to the defendants (Ex. L hereto

(SDNY_PPI_00003-07)), and the 4:03 p.m. Email that I sent to Mr. Majidi’s lawyers on October

30, 2018 (which the Government then produced to the defendants (Ex. M hereto

(SDNY_PPI_00079)). Because I did not search internal emails, I did not locate the internal emails

with AUSAs Nicholas and Griswold noted above in paragraphs 17 through 20, nor did I recall

them at the time.

IV.    Mid-Trial Colloquies

       A.      June 10, 2019 Colloquy

               28.     In its Order dated January 13, 2021, the Court stated, among other things,

that it remains at a loss to understand why incorrect information about the Government’s

communications with Mr. Majidi’s counsel was communicated to the Court and defense counsel

in June 2019. As mentioned above, I am grateful for the opportunity to address the Court’s

concern. Before addressing the specific colloquies with me and my colleagues, I think it is

important to set forth the following. First, I would never deliberately misstate facts to the Court

or counsel, or in any way mislead this Court or any court, or defense counsel in any case. Second,

the colloquies at issue here were permeated with a critical dichotomy, and I respectfully suggest

to the Court that an appreciation of my good faith during those mid-trial colloquies necessitates

placing that dichotomy in clear relief.

               29.     On the one hand, as noted above, it is proper for the Government to speak

to counsel for a defendant, including a cooperating witness, about the defendant’s allocution before

the guilty plea is entered. The Court and Mr. Shor’s counsel stated as much at the outset of the




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critical colloquy on June 19, 2019. (Tr. 753 (Ex. N hereto)).6 It is also proper for the Government

to make suggestions to defense counsel about the content of the allocution, as long as the

suggestions and resulting allocution are true and, perhaps most important, align with the statements

the cooperating witness made in proffer sessions prior to the plea. Here as well, the Court

expressed its agreement with that view, stating as follows:

               And for me, the issue is perhaps not so much whether there is a
               distinction between the proposed allocution and what actually gets
               said in front of a judge, but whether or not what actually gets said in
               front of a judge can be tethered at all or traced at all to the statements
               that were made in prior proffer sessions with the government.

(Id. at 754). Thus, if (a) a cooperating witness implicated X in crimes throughout his or her proffer

sessions and stated that the crimes spanned a specified period; and (b) that witness’s lawyer sends

to the Government a proposed allocution that fails to mention those facts; then (c) there is nothing

improper if the Government suggests to defense counsel that they be included in the allocution;

and (d) nothing improper if, after defense counsel consults with his or her client, those facts are

included. (See July 16, 2020 Gov’t Ltr. 6 (Dkt. 390)). Indeed, in my view that is not only

permissible conduct, it is good practice.

               30.     On the other hand, there can be circumstances in which the Government

seeks to influence a cooperating witness’s allocution so it includes facts that cannot be tethered or

traced to the statements that were made in prior proffer sessions with the Government. That is not

only improper, but in certain circumstances (that is, depending on the mens rea), it could amount

to a crime.




6
        I am mindful of the Court’s admonition about citing the Court’s prior statements; I do so
only to put my answers to the Court’s questions in context.



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               31.     I know now that in October 2018, more than seven months prior to my June

10, 2019 colloquy with the Court, I made suggestions to Mr. Majidi’s counsel in the former way,

that is, in a way that was proper and routine. I also know now that certain of my statements to the

Court on June 10, 2019 were incorrect. But those incorrect statements were made unintentionally

and in good faith. During the mid-trial colloquy, I not only did not recall in the moment or

afterwards the relevant communications with Mr. Majidi’s counsel back in October 2018, but I

was also focused on the fact that defense counsel were accusing me and my colleagues of unethical

and, indeed, criminal activity.

               32.     Mr. Shor’s counsel began the June 10, 2019 colloquy by stating he was

concerned about “more than just the addition of the identity of [Mr. Shor]” in the allocution. (Tr.

756). He also accused the Government of (a) listening to Mr. Shor’s proffer regarding the timing

of the events at issue, and (b) then improperly influencing Mr. Majidi’s allocution so it “drag[ged]

the relevant conduct back to 2014 in a way that is consistent with the government’s case and

inconsistent with ours.” (Id. at 757-58). As for the mens rea, defense counsel clearly accused the

Government of intentional and criminal conduct: “It is tailoring, transforming evidence in a way

that if defense counsel had done that with his witness or others, I suggest, Your Honor, there would

be accusations of witness tampering, obstruction.” (Tr. 758).

               33.     The colloquy that has given rise to the Court’s concerns about my factually

incorrect answers occurred after these pointed statements and accusations by Shor’s counsel. As

the interchange reveals on multiple occasions, I and my colleagues were focused on an

unambiguous allegation that we had engaged in conduct that was both improper and criminal in

nature. Those were striking claims. That context, I respectfully suggest, is important to the Court’s




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understanding how and why incorrect information was communicated to the Court unintentionally

and in good faith.

               34.     I want to emphasize that none of the above is intended to deflect the Court’s

attention away from me and toward defense counsel. Defense counsel have a job to do, and none

of the foregoing is intended to impugn them or the way they acted in this case. Rather, in

scrutinizing my conduct and my colleagues, I respectfully suggest that the context described above

is critical.

               35.     I turn now to the specific questioning of me and my colleagues during the

June 10, 2019 proceedings, and the bases of my responses to the Court.

               AUSA Nicholas

               36.     During his colloquy with the Court, AUSA Nicholas explained that it was

a “routine” and “frequent” practice for the Government to speak with defense counsel about a

proposed allocution; that “[t]here is absolutely nothing improper at all about attorneys discussing

what would be an appropriate allocution,” including to make sure “an allocution hits the elements”

and is “factually accurate.” (Tr. 762). AUSA Nicholas also said he was “quite confident that the

allocution that [Mr. Majidi] gave is consistent with proffer notes that far precede the allocution.”

(Id. at 763). AUSA Nicholas went on to state that defense counsel’s accusations — that the

Government had committed obstruction of justice and witness tampering — were “inappropriate,”

and that he took “extreme umbrage at [their] throwing those terms at us.” (Id.). I believed that

AUSA Nicholas’s representations were accurate, and I continue to believe they were accurate.

               37.     The Court also asked AUSA Nicholas how the Final Allocution “got to be

different” from the Draft Allocution. (Tr. 763). He responded, “I don’t specifically know how it

got to be different. No.” (Id.). I believed that AUSAs Nicholas’ representation to the Court was



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accurate. Mr. Majidi had pled guilty more than seven months earlier, and I did not recall the

communications with my colleagues noted above in paragraphs 17 to 20. Moreover, as the

Government advised the Court in its June 19, 2020 letter, “At the time of trial, none of the members

of the Government team had a memory of the Redline.” (June 19, 2020 Gov’t Ltr. 1-2 (Dkt. 368)).

                 AUSA Naftalis

                 38.   As noted above, at the time I answered the Court’s questions on June 10,

2019, I had found only two emails relating to Mr. Majidi’s allocution: the October 29 Email and

attached Draft Allocution, and the 4:03 p.m. Email. I had not found and did not recall the internal

emails with AUSAs Nicholas and Griswold noted above in paragraphs 17 through 20. Moreover,

I did not recall the specifics of my communications with Mr. Majidi’s counsel about the allocution.

Those communications were not only entirely appropriate and unremarkable, but they had

occurred seven months earlier, at a time when I had a five-week-old child and was recovering from

wrist surgery.

                 39.   As I advised the Court, my recollection on June 10, 2019 was as follows: I

recalled that Mr. Majidi’s counsel had sent me the Draft Allocution, which I had reviewed, and

that I then spoke by phone with Mr. Rosenberg about it, on what I thought was “the day before the

plea.” (Tr. 765-67). The Court then asked whether I recalled the substance of my communications

with Mr. Majidi’s counsel. (Id. at 767). At the outset I made clear, “I don’t recall the substance

— I don’t recall the specifics.” (Id.; see also id. at 768-71 (repeating throughout the colloquy that

I did not have a “specific recollection” of my communications with Mr. Rosenberg)). I went on

to say that my “recollection” of “the substance” of the conversation was that I had said that the

allocution should “just hit the elements” — i.e., that it should be shorter — which I noted was

consistent with my “general practice” and “general advice to all lawyers.” (Id. at 767-69).



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               40.     In answering the Court’s questions, I had firmly in mind defense counsel’s

accusations of witness tampering and obstruction of justice. I believed then, and continue to

believe, those accusations were baseless and unfair, and said so at the time. (See Tr. 771 (“The

accusations that are getting lobbed in, I take personally and seriously, and the suggestion is

offensive that we are suborning perjury in some way. The man proffered, Mr. Majidi, with me for

months. We spent months talking about [how] Jeremy Shor was literally the guy who got the

corrupt marks every single time. And the suggestion that we were suborning perjury because Mr.

Majidi allocuted to it[] . . . . I certainly did nothing to improperly shape testimony — to shape his

allocution.”)). My reaction was visceral, which caused me to misapprehend certain of Your

Honor’s questions and to respond to defense counsel’s allegations rather to than the precise

questions that Your Honor put to me. As a result, I unintentionally gave incorrect answers, for

which I apologize to the Court.

               41.     For example, the Court asked whether I was representing as an officer of

the Court that I in no way sought to “shape or modify” Mr. Majidi’s allocution. (Tr. 769). I

responded, “Correct. I don’t remember exactly what I said, but I would never suggest to a defense

lawyer, this is what he should say or not say.” (Id.). After a pause during which I conferred with

AUSAs Nicholas and Griswold, I clarified that “by ‘shape,’ I mean to do something improper.

The direction would be consistent with what the person said in the proffers.” (Id.). As reflected

by my clarification, I understood the Court’s use of the words “shape or modify” to refer to the

misconduct the defendants were alleging: witness tampering and obstruction of justice. (Id.; see

also id. (“I don’t like the word ‘shape’”)). I was also responding to these allegations when I said,

“I certainly do not tell people what to say” (id. at 768) and “I would never suggest to a defense

lawyer, this is what he should say or not say” (id. at 769). In those comments, I was denying what



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I understood was the essential (and only relevant) accusation: that I had told Mr. Majidi to say

Mr. Shor was involved in the crimes, and to “drag” the period of criminal activity backwards in

time, when neither was true. (Id. at 757-58). I would never do that and did not do so here. I was

attempting to convey to the Court my view that giving suggestions or “direction . . . consistent

with what the person said in the proffers” (id. at 769) was perfectly appropriate, but I now

recognize that my answers were too categorical. At times, as discussed above, I have made

suggestions to defense counsel about what a cooperating witness might say in his or her allocution

that are consistent with his or her prior proffer statements, and indeed I now know I did so in this

case. But those circumstances are different in kind from the accusations I was responding to in

the moment.

               42.     The Court asked whether I or anyone from the Government had asked Mr.

Majidi’s counsel to “change the names of anyone in the allocution,” and I said, “No.” (Tr. 770).

Later, the Court pointed out that co-defendant Jeremy Shor was not specifically named in the Draft

Allocution, but was in the Final Allocution. (Id.). I responded: “Just to be clear, [Shor’s] name

was in the Information, so this isn’t like — this isn’t new to anybody. I don’t recall saying, make

sure you allocute to — you didn’t include Shor in the first draft, put him in when you do it in

Court. I don’t recall that.” (Id. at 771). My answer “no” was incorrect to the extent that I did in

fact suggest to counsel that Mr. Majidi include Shor’s name in the allocution.7 Though at the time


7
        As the Court alluded to, Mr. Shor was already referenced, but not named, in the Draft
Allocution. (Tr. 770; see also July 16, 2020 Gov’t Ltr. 7 (Dkt. 390) (the Draft Allocution said Mr.
Majidi participated in the scheme with Mr. Ahuja and “others,” and pressured “traders” to meet
performance targets that Mr. Ahuja had set)). The Proposed Comments and Final Allocution were
also consistent with what Mr. Majidi had told the Government at his first proffer and consistently
thereafter: that Mr. Shor was his co-conspirator. (See id.; supra ¶ 5 (“SHOR [was] also involved
in the mismarking of securities”); accord 3520-11, at 2, 5; 3520-13, at 4; see also Tr. 771 (“The




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I did not have a specific recollection of my conversation with Mr. Majidi’s lawyer, after reviewing

the internal emails noted above in paragraphs 17 through 20, I now recognize that I did make that

suggestion.

               43.     The Court asked whether I had suggested that Mr. Majidi’s counsel “change

the date” of the length of the scheme in the allocution. I responded, “There is no change in the

date. There is no change in the date of Mr. Majidi.” (Tr. 770). My answer was and is accurate.

Defense counsel’s core allegation that the Government sought to “drag[] the relevant conduct back

to 2014” was factually incorrect. (Id. at 757-58). The Draft Allocution that Mr. Majidi’s lawyers

sent to the Government specifically said that the mismarking scheme went from 2014 to 2016.

(See Ex. C, at CR0061 (“Between 2014 and 2016, I participated in a scheme to defraud investors

in the mortgage credit fund of PPI by inflating the month end net asset value of the fund.”); id. at

CR0059 (“[b]etween 2014 and 2016”)). The Draft Allocution, as well as the Proposed Comments

and the Final Allocution, were thus consistent with what Mr. Majidi had told the Government

during his very first proffer. (See supra ¶ 5 (“The mismarking of securities at PPI occurred from

2014 to 2016.”); see also July 16, 2020 Gov’t Ltr. 6 (Dkt. 390)).

               44.     The Court also asked me whether I had a conversation with Mr. Rosenberg

regarding the allocution on the day of the plea allocution, and I said, “No.” (Tr. 772). Having

refreshed my recollection with documents, I now believe that we did speak shortly before the plea

about having Mr. Majidi sign the cooperation agreement and the allocution.




man proffered, Mr. Majidi, with me for months. We spent months talking about [how] Jeremy
Shor was literally the guy who got the corrupt marks every single time.”)).


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                Additional Colloquy

                45.    After the Court asked AUSA Griswold questions about her communications

regarding Mr. Dinucci’s allocution, AUSA Nicholas more clearly captured some of the points I

was trying to make:

                I just want to add, . . . the word the Court used was “alter.” I do not
                think there would be anything improper about the government
                getting a draft allocution and saying to a lawyer, didn’t he proffer to
                a longer time period, or . . . hasn’t he said a hundred times that he
                committed the crime with person X? . . . [I]t would be improper, of
                course, for the government to ask for an alteration to an allocution
                that is not founded in the evidence. That would be totally improper.
                There’s no way that’s what happened here.

(Tr. 783-84).

                46.    After the Court’s colloquies with me and my trial partners, Mr. Shor’s

counsel recognized the seriousness of his prior accusations, which were different in kind than a

claim that a prosecutor merely requested that an allocution include information provided

throughout the proffers. Indeed, Mr. Shor’s counsel then tried to walk back the accusation of

criminal activity:

                I’m not suggesting that these lawyers are trying to manipulate the
                evidence with false information. I’m sure that they believe the
                changes that were made in the allocutions are accurate. . . . I’m not
                suggesting that these folks were lying, or suborning perjury. Those
                words never came out of my mouth. What I did say is, if a defense
                lawyer had done some of these things and didn’t turn over that
                evidence when it was called for, there would be a real questioning
                of the conduct. Here, it may be perfectly acceptable. . . . I’m not
                accusing anyone of suborning perjury.

(Tr. 788-89). However, during the critical colloquy that has given rise to the Court’s concerns, the

accusation that I and my colleagues had tried in multiple ways to “manipulate the evidence with

false information” was explicit and unmistakable. My focus on that accusation was central to the




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reason why I communicated, mistakenly and in good faith, incorrect information to the Court that

day about my communications with Mr. Majidi’s counsel regarding his allocution.

       B.      June 19, 2019 Colloquy

               47.     Consistent with the Court’s June 10, 2019 ruling (Dkt. 213), the Court asked

Mr. Rosenberg, Mr. Majidi’s counsel, about his recollections of communications with me

regarding Mr. Majidi’s allocution on June 19, 2019. (Tr. 2044-63 (Ex. O hereto)). The Court

included in that colloquy a question that captured the essence of what I understood the June 10

colloquy was about: “If you were asked by the government to modify the allocution in a way that

you thought was contrary to what your client had said, would you have done it?” (Id. at 2048). In

addition to answering “[a]bsolutely not” to that question, Mr. Rosenberg said he had a “very vague

recollection” that he spoke with me the day before Mr. Majidi’s guilty plea about the Draft

Allocution. (Id.). Mr. Rosenberg said: “There was nothing ominous about it. Certainly no one

ever suggested that Mr. Majidi allocute to something that had not already been disclosed as the

general theme and facts of his involvement in this matter.” (Id. at 2049). Mr. Rosenberg said the

changes between the Draft Allocution and the Final Allocution would have to have been “the

product of [his] discussions with the government,” although he did not “have a recollection of that

conversation.” (Id. at 2052-53). Mr. Rosenberg said the Final Allocution was consistent with

what Mr. Majidi had told the Government during proffer sessions; that the Final Allocution was

accurate; and that the Government did not force or pressure defense counsel to change the

allocution. (Id. at 2053-54). Finally, Mr. Rosenberg said that he had “a very, very, very vague

recollection” that the Government had suggested that “the initial part of our draft or what was

submitted to them [was] overly complicated or overly specific . . . [,] too detailed,” but not

“incorrect.” (Id. at 2055).



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               48.    After the colloquy with Mr. Rosenberg, Mr. Shor’s counsel told the Court

he was not seeking “to get into the back-and-forth” between Mr. Majidi’s counsel and the

Government regarding Mr. Majidi’s allocution. (Tr. 20640. The Court then invited the parties to

review its June 10, 2019 ruling and raise any issues the next day. (Id. at 2065). The Court also

said: “I have a better understanding of what happened. I want the parties to think about whether

they want to make additional arguments to me about what happened or whether they want to stand

on what has been said previously, and I’ll decide.” (Id. at 2066-67). Neither Shor’s counsel nor

Ahuja’s counsel made additional arguments. I understood that these allocution-related issues had

been resolved, and I did not otherwise search my files or seek to refresh my recollection further.

V.     June 19, 2020 Letter to the Court

               49.    On January 27, 2020, the Office’s Freedom of Information Act (“FOIA”)

specialist Darian Hodge emailed AUSAs Griswold, Nicholas, and me a FOIA request from

Ahuja’s counsel (the “FOIA Request”).         I promptly forwarded the FOIA Request to my

supervisors, AUSAs Damian Williams and Jason Cowley, copying AUSAs Griswold and

Nicholas. As I wrote in that email, I believed that the Government had already produced the

relevant documents to the defense — “I think we’ve already produced whatever there was, but I

will double check” — and I said that I would consult with Associate United States Attorney John

McEnany “about how we should handle this.” (Ex. P (SDNY_PPI_00167-68)).

               50.    The next morning, I forwarded the FOIA Request to Mr. McEnany and

wrote: “Can we talk about the below today? This relates to the PPI securities fraud case that I

tried before Judge Failla this summer and which is on appeal now. The request was made by Paul

Weiss, who is counsel to one of the defendants.” (Ex. Q (SDNY_PPI_00169-78)). Later that




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morning, I spoke with Mr. McEnany and discussed the FOIA Request and the Court’s June 10,

2019 Decision, which I emailed to him that same day for his review. (Id.).

               51.     On March 9, 2020, I emailed Mr. McEnany the 21 potentially responsive

documents that I had located during my search (the “Documents”), which included the internal

emails noted above in paragraphs 17 to 20 (documents that I had not found or recalled during trial).

(SDNY_PPI_00181-231)). Later that day or the following day, March 10, 2020, I spoke briefly

with Mr. McEnany. My understanding was that he would get back to me to speak further after he

had reviewed the Documents. Shortly thereafter, on March 12, 2020, the COVID-19 pandemic

produced its dramatic effect on the Office, and I have been working remotely since then. Mr.

McEnany and I did not speak further regarding the FOIA Request.

               52.     I had no role thereafter in the Government’s response to the FOIA Request.

(See Nov. 25, 2020 Gov’t Ltr. 4 (Dkt. 419)). I did not learn that Executive Office for United States

Attorneys had made a FOIA production to Mr. Ahuja’s counsel (or what documents were

contained in it) until June 10, 2020, when AUSA Griswold advised me that Mr. Ahuja’s counsel

had contacted her.

               53.     On June 11 or 12, 2020, I had discussions with my colleagues and then

reviewed the transcript of my June 10, 2019 colloquy with the Court, which I had not previously

reviewed in connection with the FOIA Request. I recognized that certain of my statements to the

Court were unintentionally incorrect or incomplete, and that it would be appropriate for the

Government to send a letter apprising the Court and the defendants of that fact, which the

Government did. (See June 19, 2020 Gov’t Ltr. (Dkt. 368)).

                                     *       *            *   *




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                54.     As noted above, I made mistakes, but they were unintentional, and I never

failed to act in good faith. During trial, I should have located the internal emails noted above in

paragraphs 17 though 20. Had we found those documents then, I would have refreshed my

recollection and would not have incorrectly responded to the Court’s questions about my

communications with Mr. Majidi’s counsel.           While those communications were proper,

appropriate, and routine, and Mr. Majidi’s Final Allocution accurately reflected what he had

previously proffered to the Government, my errors should not have happened. Again, I apologize

to the Court, and assure Your Honor that the right lessons have been learned. I thank the Court

for its time and attention to this matter.

                Pursuant to 18 U.S.C. § 1746, I declare under penalty of perjury that the foregoing

is true and correct.

Dated:          New York, New York
                February 12, 2021



                                              Joshua A. Naftalis
                                              Assistant United States Attorney




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